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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

    TIMOTHY J. MAZIQUE                                       CIVIL ACTION

    VERSUS                                                     NO. 20-2695

    WARDEN ALVIN ROBINSON                                  SECTION “R” (3)

                          ORDER AND REASONS

       Before the Court is Timothy J. Mazique’s 28 U.S.C. § 2254 petition for

a writ of habeas corpus. 1 This matter was referred to Magistrate Judge Dana

Douglas under Eastern District of Louisiana Local Civil Rule 73.2(A) and 28

U.S.C. § 636(b) for a Report and Recommendation (R&R). Magistrate Judge

Douglas concluded in that Mazique was not in custody at the time he filed

his habeas petition and that the Court does not have subject matter

jurisdiction over his petition as a consequence. 2

       Plaintiff did not object to the R&R. Therefore, this Court reviews the

R&R for clear error. See Fed. R. Civ. P. 72(b) advisory committee’s note

(1983) (“When no timely objection is filed, the court need only satisfy itself

that there is no clear error on the face of the record in order to accept the

recommendation.”). The Court finds no clear error in the Magistrate Judge’s




1      R. Doc. 5.
2      R. Doc. 16 at 1.
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analysis. Therefore, the Court adopts the Magistrate Judge’s R&R as its

opinion.

      Rule 11 of the Rules Governing Section 2254 Proceedings provides that

“[t]he district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant.” Rules Governing Section 2254

Proceedings, Rule 11(a). The Court may issue a certificate of appealability

only if the petitioner makes “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2); Rules Governing Section 2254

Proceedings, Rule 11(a) (noting that § 2253(c)(2) supplies the controlling

standard). The Court does not issue a certificate of appealability. See

Williams v. Chatman, 510 F.3d 1290, 1294-95 (11th Cir. 2007) (“Where a

district court lacks subject matter jurisdiction over a Rule 60(b) motion, . . .

it also lacks jurisdiction to grant a COA.”).

      For the reasons stated in the Report and Recommendation, IT IS

ORDERED that the petition is DISMISSED WITHOUT PREJUDICE. The

Court will not issue a certificate of appealability.



           New Orleans, Louisiana, this _____
                                         5th  day of May, 2021.


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                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE

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